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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


 In re:                                                    Jointly Administered Under
                                                           Case No. 17-30673 (MER)

 Gander Mountain Company,                                  Case No. 17-30673
 Overton’s, Inc.                                           Case No. 17-30675

                  Debtors.                                 Chapter 11 Cases


                  NOTICE OF HEARING AND LIQUIDATING TRUSTEE’S
                     FOURTH OMNIBUS MOTION OBJECTING TO
                AMENDED CLAIMS OF CERTAIN GOVERNMENT ENTITIES


TO:       The entities specified in Local Rule 3007-1. Recipients should review Paragraph 12 to
          locate their names and Claims addressed by this Motion.

          1.     The Gander Mountain Liquidating Trust (“Trust”) and META Advisors LLC, in its

capacity as the liquidating trustee (“Liquidating Trustee”) of the Trust, by and through its

undersigned counsel, moves the Court (“Motion”) for the relief requested below and entry of an

order substantially in the form submitted herewith (“Proposed Order”), disallowing amended

claims, and gives notice of a hearing.

          2.     The Court will hold a hearing on this Motion at 10:30 a.m. on Wednesday,

January 9, 2019, in Courtroom 7 West, United States Courthouse, 300 South Fourth Street,

Minneapolis, MN, 55415.

          3.     Any response to this Motion must be filed and served no later than Friday, January,

4, 2019, which is five (5) days before the time set for the hearing (including Saturdays, Sundays,

and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED,

THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT

A HEARING. In the event a response is timely filed, and the Court determines there are facts in
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dispute which require an evidentiary hearing, the Liquidating Trustee requests that the Court treat

the hearing scheduled above as a scheduling conference for purposes of setting the matter for

evidentiary hearing.

       4.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334,

Fed. R. Bankr. P. 5005, and Local Rule 1070-1. This is a core proceeding.

       5.      This Motion arises under 11 U.S.C. §§ 502, 503 and 507, and is filed under Fed. R.

Bankr. P. 3007 and Local Rules 3007-1 and 9013-1 through 9013-3.

                                PROCEDURAL BACKGROUND

       6.      The petitions commencing these Chapter 11 cases were filed by the above-

captioned debtors (“Debtors”) on March 10, 2017 (“Petition Date”).

       7.      On March 21, 2017, the Court filed a Notice of Chapter 11 Bankruptcy Cases

which, among other things, established July 17, 2017 as the deadline by which creditors, including

governmental units, must file proofs of claim.

       8.      On April 12, 2017, the Debtors filed a consolidated set of schedules of assets and

liabilities and statement of financial affairs (“Schedules”), setting forth the consolidated assets and

liabilities of the Debtors. Additionally, in the ordinary course of business, the Debtors maintained

books and records that reflect, among other things, the Debtors’ aggregate liabilities and the

specific amounts owed to each of their creditors.

       9.      On January 26, 2018, the Court entered an order (“Confirmation Order”)

confirming the Debtors’ and Official Committee of Unsecured Creditors’ Joint Plan of Liquidation

dated October 31, 2017 (“Plan”). The effective date of the Plan occurred on February 8, 2018

(“Effective Date”).




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       10.     As set forth in paragraphs 22 through 25 of the Confirmation Order and Article

IV.A of the Plan, the estates of the Debtors were substantively consolidated for the purposes of

confirming and consummating the Plan, including, but not limited to, making distributions in

accordance with the terms of the Plan. Specifically, the Plan provides, inter alia, that on and after

the Effective Date (i) all assets and liabilities of the Debtors are treated as though they are pooled,

(ii) each Claim filed or to be filed against either Debtor, as to which both Debtors are co-liable as

a legal or contractual matter, is deemed filed as a single Claim against, and single obligation of,

the Debtors, (iii) all guarantees of any Debtor of the obligations of the other Debtor are eliminated

so that any Claim against any Debtor and any Claim based upon a guarantee thereof executed by

the other Debtor is treated as one Claim against the substantively consolidated Debtors, and (iv)

any joint or several liability of any of the Debtors is one obligation of the substantively

consolidated Debtors and any Claims based upon such joint or several liability is treated as one

Claim against the substantively consolidated Debtors.

       11.     The Plan established the Trust for the purpose of, among other things, collecting

and administering all of the Debtors’ assets. The Plan appointed the Liquidating Trustee to

administer the Liquidating Trust and to act as the representative of the estate within the meaning

of 11 U.S.C. § 1123(b)(3)(B). The Plan grants the Liquidating Trustee the authority to address

and resolve issues involving objections, reconciliation, and allowance of Claims1 and Equity

Interests2 in accordance with the Plan.




1
  “‘Claim’ means (a) a right to payment, whether or not such right is reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal
equitable, secured, or unsecured; . . . (c) or any other claim, as such term is defined in section
101(5) of the Bankruptcy Code.” Plan, Article I.A.14, 3.
2
  “‘Equity Interest’ means any equity interest in a Debtor that existed immediately prior to the
Petition Date.” Plan, Article I.A.40, 5.

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       12.     The following Claims identified in the column “Disallowed Claim No.” (the

“Amended Claims”), aggregating approximately $15.8 million, have been amended and

superseded by subsequently filed proofs of claim:

                                             Remaining        Remaining                     Disallowed       Disallowed
                               Remaining                                      Disallowed
        Claimant Name                          Claim            Claim                         Claim            Claim
                               Claim No.                                      Claim No.
                                              Amount         Classification                  Amount         Classification

 AL- DEPT OF REVENUE           178.2        $53.14           Priority         178.1        $53.14           Priority
 CO- DEPT OF REVENUE           134.2        $4,353.00        Priority         134.1        $5,560.00        Priority
 CO – DOUGLAS COUNTY
 TREASURER                     391.2        $9,032.57        Secured          391.1        $9,483.86        Secured
 FL- ESCAMBIA COUNTY TAX
 COLLECTOR                     331.2        $14,294.53       Secured          331.1        $19,177.36       Secured
 GA- COLUMBIA COUNTY TAX
 COMMISSIONERS OFFICE          15358.2      $40,559.03       Priority         15358.1      $39,107.18       Priority
 GA- COWETA COUNTY             174.2        $85,225.23       Priority         174.1        $43,586.51       Priority
 MN- DEPT OF REVENUE           15471.2      $272,910.06      Priority         15471.1      $369,565.48      Priority
 NC- IREDELL COUNTY TAX
 COLLECTOR                     247.2        $14,302.52       Secured          247.1        $16,548.78       Secured
 NY- DEPT OF TAXATION AND
 FINANCE                       512.3        $4,015,483.30    Priority         512.2        $3,259,857.24    Priority
 NY – DEPT OF TAXATION AND
 FINANCE                       512.3        $4,015,483.30    Priority         512.1        $3,259,855.58    Priority
 OH- BUREAU OF WORKERS
 COMPENSATION                  529.2        $34,226.81       Priority         529.1        $32,015.16       Priority
 PA- DEPT OF REVENUE           121.4        $1,781,513.89    Priority         121.3        $2,033,931.27    Priority
 PA- DEPT OF REVENUE           121.4        $1,781,513.89    Priority         121.2        $633,931.27      Priority
 PA- DEPT OF REVENUE           121.4        $1,781,513.89    Priority         121.1        $233,931.27      Priority
 TX- BEXAR COUNTY              193.3        $124,395.98      Secured          193.2        $96,996.79       Secured
 TX- BEXAR COUNTY              193.3        $124,395.98      Secured          193.1        $236,780.24      Secured
 TX- BOWIE CENTRAL
 APPRAISAL DISTRICT            55.2         $258,090.72      Secured          55.1         $417,633.08      Secured
 TX- CITY OF EL PASO           185.3        $144,141.45      Secured          185.2        $95,321.37       Secured
 TX- CITY OF EL PASO           185.3        $144,141.45      Secured          185.1        $240,217.75      Secured
 TX- CITY OF WACO OR WACO
 ISD                           58.3         $81,255.25       Secured          58.1         $199,710.58      Secured
 TX – COMPTROLLER OF PUBLIC
 ACCOUNTS                      20987.2      $231,424.68      Priority         20987.1      $441,367.51      Priority
 TX – COMPTROLLER OF PUBLIC
 ACCOUNTS                      468.2        $425,180.86      Priority         468.1        $691,773.32      Priority
 TX- CYPRESS FAIRBANKS ISD     144.3        $107,687.62      Secured          144.2        $82,370.12       Secured
 TX- CYPRESS FAIRBANKS ISD     144.3        $107,687.62      Secured          144.1        $208,291.91      Secured
 TX- DALLAS COUNTY             190.2        24,456.46        Secured          190.1        $46,429.29       Secured
 TX- FORT BEND CO LID #10      179.3        $32,802.62       Secured          179.2        $25,253.12       Secured
 TX- FORT BEND CO LID #10      179.3        $32,802.62       Secured          179.1        $52,779.02       Secured
 TX- FORT BEND CO              186.3        $103,478.93      Secured          186.2        $70,192.60       Secured
 TX- FORT BEND CO              186.3        $103,478.93      Secured          186.1        $178,939.73      Secured
 TX- GRAYSON COUNTY            197.2        $117,297.59      Secured          197.1        $199,369.19      Secured
 TX- HARRIS COUNTY ET AL       187.4        $161,322.22      Secured          187.3        $154,772.56      Secured
 TX- HARRIS COUNTY ET AL       187.4        $161,322.22      Secured          187.2        $372,354.09      Secured
 TX- HARRIS COUNTY ET AL       187.4        $161,322.22      Secured          187.1        $372,335.55      Secured
 TX- LEWISVILLE ISD            303.2        $80,563.55       Secured          303.1        $126,409.78      Secured
 TX- LUBBOCK CENTRAL           9.2          $105,563.09      Secured          9.1          $222,986.31      Secured
 APPRAISAL DIST
 TX- MCLENNAN COUNTY           302.2        $24,369.18       Secured          302.1        $60,424.26       Secured
 TX- SMITH COUNTY              192.2        $69,278.02       Secured          192.1        $144,788.01      Secured
 TX- TARRANT COUNTY            191.2        $178,511.60      Secured          191.1        355,400.38       Secured
 TX- TAXING DISTRICT           189.2        $22,457.33       Secured          189.1        $49,737.79       Secured
 COLLECTED BY POTTER CTY
 TX- TAXING DISTRICT           53.2         $41,065.16       Secured          53.1         $92,905.06       Secured
 COLLECTED BY RANDALL CTY
 TX- TRAVIS COUNTY             14386.2      $216,724.89      Secured          14386.1      $208,495.95      Secured
 VA- COUNTY OF ALBEMARLE       403.2        $6,398.18        Priority         403.1        $6,340.06        Priority


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    VA- PRINCE WILLIAM COUNTY   18156.2   $35,562.12    Priority   18156.1   $40,323.12     Priority
    WI – DEPT OF REVENUE        20733.2   $131,111.68   Priority   20733.1   $393,748.36    Priority




          13.    By this Motion, the Liquidating Trustee (1) objects to the allowance of the

Amended Claims and (2) requests entry of an order substantially in the form of the Proposed Order

disallowing and expunging the Amended Claims.

                                  GROUNDS FOR OBJECTION

          14.    The Liquidating Trustee objects to each of the Amended Claims, listed above in

Paragraph 12, as amended and superseded by subsequently filed proofs of claim. The Liquidating

Trustee has reviewed the Amended Claims and has determined that the Claims listed under the

column titled “Disallowed Claim No.” are amended and superseded by the Claim listed under the

column titled “Remaining Claim Number” (“Remaining Claims”).

          15.    The claimants that have filed the Amended Claims are each government units

asserting secured or priority status.

          16.    The Amended Claims no longer represent valid Claims against the Debtors’ estates.

Accordingly, if the Amended Claims are not formally expunged or disallowed, the potential exists

for a double recovery for the applicable claimants to the detriment of other creditors in these cases.

The disallowance of the Amended Claims will also result in a more streamlined and accurate

claims register.3

          17.    This Motion does not affect the Remaining Claims listed above in Paragraph 12.

In addition, to the extent the Amended Claims contain attachments that were not included with the

Remaining Claim, the Liquidating Trustee does not object to the claimants relying on any such



3
  For the avoidance of doubt, the Liquidating Trustee reserves all rights to object in the future to
the Remaining Claims, listed above in Paragraph 12, on any grounds permitted under applicable
law.

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attachments to prove the necessity, amount, or priority of the Remaining Claim. The Liquidating

Trustee requests that any such attachments be deemed to be attached to the Remaining Claim.

        18.    The Liquidating Trustee views this Motion as a “housekeeping” matter required by

the rules of procedure to ensure that the allowed Claims reflect the amounts that the Debtors’ estate

owes.

        19.    The rights of the Trust and the Liquidating Trustee to: (i) file subsequent objections

to any of the Claims on any ground (whether substantive or non-substantive); (ii) amend, modify

or supplement the Motion, including, without limitation, filing objections to further amended or

newly filed Claims; (iii) seek to expunge or reduce any Claim to the extent all or a portion of such

Claim has been paid; and (iv) settle any Claim for less than the asserted amount, are expressly

preserved.

        20.    To the extent that any portion of any of the Claims are also the subject of a separate

claim objection on other grounds, whether by separate motion or through an adversary proceeding,

the Liquidating Trustee requests that any order on this Motion not affect, eliminate, or determine

those separate objections.

        21.    Pursuant to Local Rule 9013-2(a), this Motion is verified and is accompanied by a

memorandum, proposed order, and proof of service.

        22.    As set forth above, parties in interest are afforded the opportunity to file a response

(each, a “Response”) to the relief requested in the Motion, as required by Local Rule 9013-2(b).

        23.    Pursuant to Local Rule 9013-2(c), the Liquidating Trustee gives notice that if an

evidentiary hearing is held, it may, if necessary, call James Carr or James Hunt of META Advisors

LLC, whose business address is 101 Park Avenue, 30th Floor, New York, New York 10178, Dana

P. Kane, of Kelley Drye & Warren LLP, whose business address is 101 Park Avenue, New York,



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New York 10178, and/or Matthew Diaz from FTI Consulting, Inc., whose business address is

Three Times Square, 9th Floor, New York, New York 10036, to testify as to the Debtors’ books

and records. The Liquidating Trustee reserves the right to supplement its witness list to add

additional witnesses or to expand the scope of expected testimony of identified witnesses prior to

any evidentiary hearing.

                                         CONCLUSION

       The Liquidating Trustee respectfully requests that the Court enter an order disallowing and

expunging the Amended Claims identified in Paragraph 12 of the Motion and granting such other

and further relief as this Court deems just and equitable.




Dated: November 15, 2018                              Respectfully Submitted,


                                                      BARNES & THORNBURG LLP

                                                      /e/ Christopher J. Knapp
                                                      Connie A. Lahn, #0269219
                                                      Christopher Knapp, #0344412
                                                      Barnes & Thornburg LLP
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                                                      --and—




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                                          Counsel for the Gander Mountain
                                          Liquidating Trustee




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                                       VERIFICATION

        I, James Hunt, on behalf of META Advisors LLC, not individually, but solely in its
capacity as liquidating trustee for the Gander Mountain Liquidating Trust, have reviewed the
Motion and declare, based upon (i) my personal knowledge, (ii) my review (or the review of
persons under my supervision) of the books and records provided to me by the Debtors' former
employees and/or the Trust' s consultants, the Schedules and Statements filed in these Cases, the
relevant proofs of claim, and the claims register, as well as relevant documents and other
information prepared or collected by the Debtors' employees or professionals and/or the Trust's
consultants and professionals, and/or (iii) my opinion based on my experience with the Debtors'
operations and financial condition, that the facts set forth in the preceding Motion are true and
correct to the best of my knowledge, information and belief.


Dated: November I\ 2018                             By ~




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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


  In re:                                             Jointly Administered Under
                                                     Case No. 17-30673 (MER)
  Gander Mountain Company,
  Overton’s, Inc.                                    Case No. 17-30673
                                                     Case No. 17-30675

                         Debtors.                    Chapter 11 Cases


     MEMORANDUM OF LAW IN SUPPORT OF THE LIQUIDATING TRUSTEE’S
   FOURTH OMNIBUS MOTION OBJECTING TO AMENDED CLAIMS OF CERTAIN
                       GOVERNMENT ENTITIES


        The Liquidating Trustee objects to the Claims identified in Paragraph 12 of the Liquidating

Trustee’s Fourth Omnibus Motion Objecting to Amended Claims of Certain Government Entities,

and requests that this Court enter an order disallowing and expunging the Amended Claims in their

entirety.

                                        BACKGROUND

        The facts in support of the relief requested are set forth in the verified Motion. All

capitalized terms have the meaning ascribed to them in the Motion.

                                          ARGUMENT

        A proof of claim filed in a bankruptcy proceeding is deemed allowed unless a party in

interest objects. 11 U.S.C. § 502(a); see also Gran v. IRS (In re Gran), 964 F.2d 822, 827 (8th

Cir. 1992). If an objection is filed, the objector must come forward with evidence rebutting the

Claim. Gran, 964 F.2d at 827; In re Oriental Rug Warehouse Club, Inc., 205 B.R. 407, 410 (Bankr.

D. Minn. 1997). If the objecting party produces such evidence, the burden of proof shifts to the

claimant to produce evidence of the validity of the Claim. Gran, 964 F.2d at 827; Oriental Rug,



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205 B.R. at 410. “In other words, once an objection is made to the proof of claim, the ultimate

burden of persuasion as to the claim’s validity and amount rests with the claimant.” Oriental Rug,

205 B.R. at 410 (citations omitted). In making these determinations, a court looks to the governing

substantive law. In re Ford, 125 B.R. 735, 737 (E.D. Tex. 1991); In re Gridley, 149 B.R. 128, 132

(Bankr. D.S.D. 1992).

       The Liquidating Trustee objects to the allowance of the Claims identified in Paragraph 12

of the Motion (“Amended Claims”), in the aggregate amount of approximately $15.8 million,

which are amended and superseded by subsequently filed proofs of claim, and therefore not

enforceable. The Liquidating Trustee has reviewed the Amended Claims and has determined that,

in Paragraph 12 of the Motion, the Claims listed under the column titled “Disallowed Claim No.”

are amended and superseded by the Claims listed under the column titled “Remaining Claim

Number.” If the Amended Claims are not formally expunged or disallowed, the potential exists

for a double recovery for the applicable claimants. The disallowance of the Amended Claims will

also result in a more streamlined and accurate claims register.1 The Liquidating Trustee does not

object to the Remaining Claims listed in Paragraph 12 of the Motion.

       Accordingly, the Liquidating Trustee (1) objects to the allowance of the Amended Claims

listed in Paragraph 12 of the Motion and (2) seeks entry of an order substantially in the form of

the Proposed Order disallowing and expunging in their entirety the Amended Claims under the

column headings “Disallowed Claims No.”




1
  For the avoidance of doubt, the Liquidating Trustee reserves all rights to object in the future to
the Remaining Claims listed in Paragraph 12 of the Motion on any grounds permitted under
applicable law.

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                            SEPARATE CONTESTED MATTERS

       To the extent a Response is filed regarding any individual Claim listed in the Motion and

the Liquidating Trustee is unable to resolve the Response, the Liquidating Trustee requests that

the Motion as it pertains to such Claim shall constitute a separate contested matter as contemplated

by Bankruptcy Rule 9014. The Liquidating Trustee requests that any order entered by the Court

regarding a Response asserted in the Motion be deemed a separate order with respect to each Claim

subject thereto.

                                          CONCLUSION

       The Liquidating Trustee respectfully requests that the Court enter an order (1) disallowing

and expunging the Amended Claims identified in Paragraph 12 of the Motion because the

Amended Claims have been amended and superseded by subsequently filed Claims, and (2)

allowing such other and further relief as is just and equitable.


Dated: November 15, 2018                              Respectfully Submitted,


                                                      BARNES & THORNBURG LLP

                                                      /e/ Christopher J. Knapp
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                                                      Christopher Knapp, #0344412
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                                                      --and--




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                                          Liquidating Trustee




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


                                                                   Jointly Administered Under
 In re:                                                            Case No. 17-30673 (MER)

 Gander Mountain Company,                                          Case No. 17-30673
 Overton’s, Inc.                                                   Case No. 17-30675

                           Debtors.                                Chapter 11 Cases


                   ORDER GRANTING THE LIQUIDATING TRUSTEE’S
                    FOURTH OMNIBUS MOTION OBJECTING TO THE
                 AMENDED CLAIMS OF CERTAIN GOVERNMENT ENTITIES


          This matter is before the Court on the Liquidating Trustee’s Motion (“Motion”) Objecting

to Amended Claims of Certain Government Entities. Based on the Motion and the documents of

record herein,

          IT IS ORDERED:

          1.      The Motion is granted.

          2.      The Claims identified in the following chart, under the column “Disallowed Claim

No.” (“Amended Claims”), are hereby disallowed and expunged in their entirety:

                                                   Remaining         Remaining                     Disallowed       Disallowed
                                      Remaining                                      Disallowed
           Claimant Name                             Claim             Claim                         Claim            Claim
                                      Claim No.                                      Claim No.
                                                    Amount          Classification                  Amount         Classification

 AL- DEPT OF REVENUE                  178.2       $53.14            Priority         178.1        $53.14           Priority
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 FL- ESCAMBIA COUNTY TAX
 COLLECTOR                            331.2       $14,294.53        Secured          331.1        $19,177.36       Secured
 GA- COLUMBIA COUNTY TAX
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 GA- COWETA COUNTY                    174.2       $85,225.23        Priority         174.1        $43,586.51       Priority
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 COLLECTOR                            247.2       $14,302.52        Secured          247.1        $16,548.78       Secured
 NY- DEPT OF TAXATION AND
 FINANCE                              512.3       $4,015,483.30     Priority         512.2        $3,259,857.24    Priority




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 NY – DEPT OF TAXATION AND
 FINANCE                      512.3       $4,015,483.30    Priority   512.1     $3,259,855.58    Priority
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 PA- DEPT OF REVENUE          121.4       $1,781,513.89    Priority   121.2     $633,931.27      Priority
 PA- DEPT OF REVENUE          121.4       $1,781,513.89    Priority   121.1     $233,931.27      Priority
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 TX- BEXAR COUNTY             193.3       $124,395.98      Secured    193.1     $236,780.24      Secured
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 APPRAISAL DISTRICT           55.2        $258,090.72      Secured    55.1      $417,633.08      Secured
 TX- CITY OF EL PASO          185.3       $144,141.45      Secured    185.2     $95,321.37       Secured
 TX- CITY OF EL PASO          185.3       $144,141.45      Secured    185.1     $240,217.75      Secured
 TX- CITY OF WACO OR WACO
 ISD                          58.3        $81,255.25       Secured    58.1      $199,710.58      Secured
 TX – COMPTROLLER OF PUBLIC
 ACCOUNTS                     20987.2     $231,424.68      Priority   20987.1   $441,367.51      Priority
 TX – COMPTROLLER OF PUBLIC
 ACCOUNTS                     468.2       $425,180.86      Priority   468.1     $691,773.32      Priority
 TX- CYPRESS FAIRBANKS ISD    144.3       $107,687.62      Secured    144.2     $82,370.12       Secured
 TX- CYPRESS FAIRBANKS ISD    144.3       $107,687.62      Secured    144.1     $208,291.91      Secured
 TX- DALLAS COUNTY            190.2       24,456.46        Secured    190.1     $46,429.29       Secured
 TX- FORT BEND CO LID #10     179.3       $32,802.62       Secured    179.2     $25,253.12       Secured
 TX- FORT BEND CO LID #10     179.3       $32,802.62       Secured    179.1     $52,779.02       Secured
 TX- FORT BEND CO             186.3       $103,478.93      Secured    186.2     $70,192.60       Secured
 TX- FORT BEND CO             186.3       $103,478.93      Secured    186.1     $178,939.73      Secured
 TX- GRAYSON COUNTY           197.2       $117,297.59      Secured    197.1     $199,369.19      Secured
 TX- HARRIS COUNTY ET AL      187.4       $161,322.22      Secured    187.3     $154,772.56      Secured
 TX- HARRIS COUNTY ET AL      187.4       $161,322.22      Secured    187.2     $372,354.09      Secured
 TX- HARRIS COUNTY ET AL      187.4       $161,322.22      Secured    187.1     $372,335.55      Secured
 TX- LEWISVILLE ISD           303.2       $80,563.55       Secured    303.1     $126,409.78      Secured
 TX- LUBBOCK CENTRAL          9.2         $105,563.09      Secured    9.1       $222,986.31      Secured
 APPRAISAL DIST
 TX- MCLENNAN COUNTY          302.2       $24,369.18       Secured    302.1     $60,424.26       Secured
 TX- SMITH COUNTY             192.2       $69,278.02       Secured    192.1     $144,788.01      Secured
 TX- TARRANT COUNTY           191.2       $178,511.60      Secured    191.1     355,400.38       Secured
 TX- TAXING DISTRICT          189.2       $22,457.33       Secured    189.1     $49,737.79       Secured
 COLLECTED BY POTTER CTY
 TX- TAXING DISTRICT          53.2        $41,065.16       Secured    53.1      $92,905.06       Secured
 COLLECTED BY RANDALL CTY
 TX- TRAVIS COUNTY            14386.2     $216,724.89      Secured    14386.1   $208,495.95      Secured
 VA- COUNTY OF ALBEMARLE      403.2       $6,398.18        Priority   403.1     $6,340.06        Priority
 VA- PRINCE WILLIAM COUNTY    18156.2     $35,562.12       Priority   18156.1   $40,323.12       Priority
 WI – DEPT OF REVENUE         20733.2     $131,111.68      Priority   20733.1   $393,748.36      Priority




       3.      The rights of the Trust and the Liquidating Trustee to: (i) file subsequent objections

to any of the Amended Claims on any ground (substantive or non-substantive); (ii) amend, modify

or supplement the Motion, including, without limitation, filing objections to further amended or

newly filed Claims; (iii) seek to expunge or reduce any claim to the extent all or a portion of such

Claim has been paid; and (iv) settle any Claim for less than the asserted amount, are expressly

preserved. Additionally, should the grounds of objection stated in the Motion be overruled, the

Liquidating Trustee’s rights to object to the Amended Claims on any other grounds are preserved.




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       4.      To the extent that the Amended Claims are also the subject of a separate claim

objection, or become subjection to a separate claim objection, on other grounds, whether by

separate motion or through an adversary proceeding, this Order does not affect, eliminate, or

determine those separate objections.

       5.      For the avoidance of doubt, nothing in the Motion or this Order impacts in any way

the Liquidating Trustee’s pending objection to any Claim under section 502(d) of the Bankruptcy

Code included in any complaint filed pursuant to section 5 of the Bankruptcy Code.

       6.      The objection to each Claim, as addressed in the Motion and as set forth in the chart

above, constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014. This

Order shall be deemed a separate order with respect to each such Claim that is the subject of the

Motion. Any stay of this Order pending appeal by any claimants whose Claims are subject to this

Order shall only apply to the contested matter that involves such claimant and shall not act to stay

the applicability and/or finality of this Order with respect to any other contested matters addressed

in the Motion and this Order.

       7.      The Trust and the Liquidating Trustee are authorized to take any and all actions that

are necessary and appropriate to give effect to this Order.

       8.      This Court shall retain jurisdiction over all matters arising from or related to the

interpretation and implementation of this Order.




Dated: ______________, 2018.                  _________________________________________
                                              Judge Michael E. Ridgway
                                              United States Bankruptcy Judge




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